              Case 18-06051-LT11                       Filed 10/23/18                Entered 10/23/18 11:54:55                      Doc 16-1             Pg. 1 of
                                                                                       10
 Fill in this information to identify your case:

 Debtor 1                   Christopher D. Dougherty
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Nereida I. Dougherty
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                 $26,227.00                      $0.00         $26,227.00
         Creditor's Name                          2016 Chevy Express Van
                                                  1kmi - Excellent at Ranch
         Attn: Bankruptcy Dept.                   Owes $41,000.00
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 380901                          apply.
         Minneapolis, MN 55438                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6806


   Add the dollar value of your entries in Column A on this page. Write that number here:                                $26,227.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $26,227.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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              Case 18-06051-LT11                        Filed 10/23/18                   Entered 10/23/18 11:54:55                         Doc 16-1             Pg. 2 of
                                                                                           10
 Fill in this information to identify your case:

 Debtor 1                     Christopher D. Dougherty
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Nereida I. Dougherty
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF CALIFORNIA

 Case number           18-06051
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          IRS                                                    Last 4 digits of account number                        $54,300.00                    $0.00          $54,300.00
              Priority Creditor's Name
              P.O. Box 7346                                          When was the debt incurred?           2017
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                         1040 Income Taxes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
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           Case 18-06051-LT11                          Filed 10/23/18                Entered 10/23/18 11:54:55                         Doc 16-1         Pg. 3 of
                                                                                       10
 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.1      American Express                                           Last 4 digits of account number       1003                                             $16,891.30
          Nonpriority Creditor's Name
          P.O. Box 2092                                              When was the debt incurred?           2012
          Saint Charles, MO 63302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Purchases


 4.2      Brennan & Clark                                            Last 4 digits of account number       4828                                             $12,875.61
          Nonpriority Creditor's Name
          721 E. Madison St., Ste. 200                               When was the debt incurred?           08/18
          Villa Park, IL 60181
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Insurance Premiums


 4.3      CCG                                                        Last 4 digits of account number       7524                                               $5,667.57
          Nonpriority Creditor's Name
          317 S. Brand Blvd.                                         When was the debt incurred?           08/18
          Glendale, CA 91204-1701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Sure Tec Inc. Co.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 5
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           Case 18-06051-LT11                          Filed 10/23/18                Entered 10/23/18 11:54:55                         Doc 16-1         Pg. 4 of
                                                                                       10
 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.4      CCSC                                                       Last 4 digits of account number       0452                                               $3,224.05
          Nonpriority Creditor's Name
          725 Canton St.                                             When was the debt incurred?           08/18
          Norwood, MA 02062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collections
                                                                                         For Progressive Insurance
              Yes                                                       Other. Specify   United Financial CAS CO.

 4.5      IC Systems                                                 Last 4 digits of account number       6468                                                 $941.36
          Nonpriority Creditor's Name
          P.O. Box 64378                                             When was the debt incurred?           08/18
          Saint Paul, MN 55164-0378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for ATT Wireless


 4.6      Koch, Degn & Gomez, LLP                                    Last 4 digits of account number       8140                                             $12,534.04
          Nonpriority Creditor's Name
          1148 N. Chinowith St., Ste. B                              When was the debt incurred?           07/18
          Visalia, CA 93291
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Bob Stall Chevrolet




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 5
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           Case 18-06051-LT11                          Filed 10/23/18                Entered 10/23/18 11:54:55                         Doc 16-1         Pg. 5 of
                                                                                       10
 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)         18-06051

 4.7      Legis Law                                                  Last 4 digits of account number       9358                                             $35,000.00
          Nonpriority Creditor's Name
          2101 E. 4th St., Ste. A120                                 When was the debt incurred?           06/18
          Santa Ana, CA 92075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collectgions for Sunstate Equipment


 4.8      MRS BPO L.L.C.                                             Last 4 digits of account number       0642                                               $2,037.29
          Nonpriority Creditor's Name
          1930 Olney Avenue                                          When was the debt incurred?           08/18
          Cherry Hill, NJ 08003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Verizons Wireless


 4.9      Pucin & Friedland, P.C.                                    Last 4 digits of account number       4135                                             $22,942.38
          Nonpriority Creditor's Name
          5805 Sepulveda Blvd. #4th Fl.                              When was the debt incurred?           07/18
          Sherman Oaks, CA 91411
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections for Hawthorne Machinery




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 5
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           Case 18-06051-LT11                          Filed 10/23/18                 Entered 10/23/18 11:54:55                         Doc 16-1         Pg. 6 of
                                                                                        10
 Debtor 1 Christopher D. Dougherty
 Debtor 2 Nereida I. Dougherty                                                                           Case number (if known)          18-06051

 4.1
 0         Receivables Control Corp.                                 Last 4 digits of account number       7872                                                $2,053.96
           Nonpriority Creditor's Name
           7373 Kirkwood Ct., Ste. 200                               When was the debt incurred?           08/18
           Minneapolis, MN 55369
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only
                                                                         Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Collections for TAP Automobile Holdings
              Yes                                                        Other. Specify   LLC

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      54,300.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      54,300.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  114,167.56

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  114,167.56




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 5
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           Case 18-06051-LT11                          Filed 10/23/18       Entered 10/23/18 11:54:55              Doc 16-1         Pg. 7 of
                                                                              10
CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 Thomas S. Engel, ESQ. CA#105659
 964 Fifth Avenue, Suite 400
 San Diego, CA 92101
 (619)544-1415
 CA#105659 CA

                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Christopher D. Dougherty
 Nereida I. Dougherty                                                                       BANKRUPTCY NO. 18-06051




                                                                             Debtor.

                                                  VERIFICATION OF CREDITOR MATRIX - AMENDED

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS:              12

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.
 Date: October 23, 2018                                              /s/ Christopher D. Dougherty
                                                                     Christopher D. Dougherty
                                                                     Signature of Debtor

 Date: October 23, 2018                                              /s/ Nereida I. Dougherty
                                                                     Nereida I. Dougherty
                                                                     Signature of Debtor




                                                          REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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           Case 18-06051-LT11                          Filed 10/23/18     Entered 10/23/18 11:54:55                   Doc 16-1           Pg. 8 of
                                                                            10
CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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    Case 18-06051-LT11   Filed 10/23/18   Entered 10/23/18 11:54:55   Doc 16-1   Pg. 9 of
                                            10


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                         Ally Financial
                         Attn: Bankruptcy Dept.
                         P.O. Box 380901
                         Minneapolis, MN 55438



                         American Express
                         P.O. Box 2092
                         Saint Charles, MO 63302



                         Brennan & Clark
                         721 E. Madison St., Ste. 200
                         Villa Park, IL 60181



                         CCG
                         317 S. Brand Blvd.
                         Glendale, CA 91204-1701



                         CCSC
                         725 Canton St.
                         Norwood, MA 02062



                         IC Systems
                         P.O. Box 64378
                         Saint Paul, MN 55164-0378



                         IRS
                         P.O. Box 7346
                         Philadelphia, PA 19101-7346



                         Koch, Degn & Gomez, LLP
                         1148 N. Chinowith St., Ste. B
                         Visalia, CA 93291



                         Legis Law
                         2101 E. 4th St., Ste. A120
                         Santa Ana, CA 92075
Case 18-06051-LT11   Filed 10/23/18   Entered 10/23/18 11:54:55   Doc 16-1   Pg. 10
                                       of 10



                     MRS BPO L.L.C.
                     1930 Olney Avenue
                     Cherry Hill, NJ 08003



                     Pucin & Friedland, P.C.
                     5805 Sepulveda Blvd. #4th Fl.
                     Sherman Oaks, CA 91411



                     Receivables Control Corp.
                     7373 Kirkwood Ct., Ste. 200
                     Minneapolis, MN 55369
